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                      UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION


JASON RATCLIFF, et al.,               :
                                      :     NO. 1:05-CV-00582
           Plaintiffs,                :
                                      :
                                      :     ORDER
   v.                                 :
                                      :
                                      :
ERNIE MOORE, et al.,                  :
                                      :
           Defendants.                :


           This matter is before the Court on the Report and

Recommendation in which the assigned Magistrate Judge recommends

that all of Plaintiffs’ pending motions (docs. 19, 22, 23, 25,2 27,

28) be denied without prejudice (doc. 35).                  For the reasons

indicated herein, the Court ADOPTS the Magistrate Judge’s Report

and Recommendation in its entirety, and DENIES all of Plaintiffs’

motions.

           The    Parties      were       served    with   the    Report     and

Recommendation and were therefore afforded proper notice of the

Magistrate Judge’s Report and Recommendation required by 28 U.S.C.

§ 636(b)(1)(C), including that failure to file timely objections to

the Report and Recommendation would result in a waiver of further

appeal.    See United States v. Walters, 638 F.2d 947, 949-50 (6th

Cir. 1981).    Neither Party filed any objections thereto within the

ten days provided for by Fed. R. Civ. P. 72(b) and 28 U.S.C. §

636(b)(1)(C).      Pursuant to 28 U.S.C. §636(b), the Court has
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reviewed the Report and Recommendation de novo.

            The Magistrate Judge reported that on March 12, 2006, he

entered a Show Cause Order, directing Plaintiffs to show cause why

their complaint should not be dismissed for failure to effect

proper and timely service of process of the summons and complaint

upon the named Defendants (doc. 31).           The Magistrate Judge noted

that in response, Kelsey Ratcliff, a non-party and wife of pro se

plaintiff    Jason   Ratcliff     submitted     an   affidavit    along    with

certified mail return receipts allegedly showing that each of the

named Defendants received a copy of the summons and complaint (doc.

32, Ex.1). The Magistrate Judge found that the documents submitted

by Ms. Ratcliff did not establish Ohio certified mail service in

compliance with S.D.Ohio Civ. R. 4.2, and that there was no

evidence that Plaintiffs have ever properly served Defendants with

the summons and complaint (doc. 35).

            Although the deadline set forth in the Show Cause Order

had passed, the Magistrate Judge entered another Order (doc. 34)

directing Plaintiffs to effect proper service upon Defendants.

Nonetheless, the Magistrate Judge stated that the Court lacked

jurisdiction over any Defendant because Plaintiffs had not properly

nor timely effected service.           Therefore, the Magistrate Judge

recommended that all of Plaintiffs’ pending motions (docs. 19, 22,

23, 25, 27, 28) be denied without prejudice, subject to refiling,

if necessary, after Plaintiffs established that the Defendants have


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been properly served with the summons and complaint (doc. 35).

           The   Court    finds    the   Magistrate     Judge’s    Report    and

Recommendation well-reasoned and thorough.           Accordingly, the COURT

ADOPTS the Magistrate Judge’s Report and Recommendation (doc. 35)

in its entirety, and DENIES WITHOUT PREJUDICE, Plaintiffs’ motions

(docs. 19, 22, 23, 25, 27, 28).


           SO ORDERED.


Dated: September 19, 2006           /s/ S. Arthur Spiegel
                                    S. Arthur Spiegel
                                    United States Senior District Judge




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